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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       CRIMINAL NO. 23-cr-91-02 (CKK)
                                               :
               v.                              :
                                               :
JIN GUANGHUA,                                  :
                                               :
       Defendant.                              :

                     GOVERNMENT’S CONSENT MOTION IN LIMINE
                    REGARDING LIVE TRANSLATIONS DURING TRIAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully submits its Motion in Limine regarding the procedure

for live translations during trial. Undersigned counsel has conferred with counsel for Defendant

Jin Guanghua, who consents to this motion.

       The government anticipates that at trial in this matter, witnesses may need to use an

interpreter to translate from Spanish to English and possibly Chinese to English. The government

also anticipates that both parties may object to answers made in the foreign language, while those

answers are being translated. Neither counsel is fluent in Spanish or Chinese. The government,

therefore, proposes that either party may object to a witness’s answer during the time in which the

interpreter is translating the answer into English. Upon objection, the interpreter should pause until

the Court resolves the objection. Should the Court sustain the objection, the interpreter will not

complete the translation and the witness’s remaining answer will be left untranslated. In this

manner, a witness’s answer in the foreign language will be treated in the same fashion as a witness

testifying in English (i.e., both parties will have an opportunity to prevent the jury from hearing

the evidence they believe should be excluded).




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       Wherefore, the government respectfully requests the Court grant the instant Motion in

Limine regarding the procedure for live translations during trial.

                                              Respectfully submitted,

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                                              United States Attorney

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